Case 3:20-cv-12584-FLW-TJB Document 7 Filed 09/28/20 Page 1 of 1 PageID: 170




                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
 METUCHEN CENTER, INC.,
                                     Civil Action No.: 3:20-cv-12584-FLW-TJB
                 Plaintiff,

     v.                                      STIPULATION OF DISMISSAL
                                             WITHOUT PREJUDICE AS TO
 LIBERTY MUTUAL INSURANCE                    DEFENDANT LIBERTY MUTUAL
 COMPANY; WEST AMERICAN INSURANCE INSURANCE COMPANY ONLY
 COMPANY; and XYZ COMPANY 1-100 (a
 fictitious name for insurance companies and
 underwriters presently unknown),

                          Defendants.

           IT IS HEREBY STIPULATED AND AGREED by and between the undersigned

counsel for Plaintiff Metuchen Center, Inc. and Defendants Liberty Mutual Insurance Company

and West American Insurance Company that all claims asserted by and between Plaintiff and

Liberty Mutual Insurance Company are hereby dismissed without prejudice and without costs

against any party.

           IT IS FURTHER STIPULATED AND AGREED that this Stipulation may be executed

in counterparts, that facsimile and/or electronic copies of this Stipulation shall be deemed originals,

and that this Stipulation may be filed with the Clerk of the Court without further notice to the

parties.


 By: /s/ Michael Deem                                 By: __/s/ Rachel R. Hager_____________
    MICHAEL J. DEEM, ESQ.                                   RACHEL R. HAGER, ESQ.
    R.C. SHEA & ASSOCIATES                                  FINAZZO COSSOLINI O’LEARY
    24 Main Street                                          MEOLA & HAGER, LLC
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    Attorney for Plaintiff                                  Attorneys for Defendants


 Dated: September 28, 2020                              Dated: __September 28, 2020________
